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                                                  May 12, 2021

       VIA EMAIL: chambers_of_judge_petrese_b_tucker@paed.uscourts.gov
       Honorable Petrese B. Tucker
       United States District Court for the
       Eastern District of Pennsylvania
       James A. Byrne United States Courthouse
       601 Market Street, Suite 16613
       Philadelphia, PA 19106

              Re: Hermine Byfield v. Healthcare Revenue Recovery Group, LLC, et al
                  USDC EDPA No.: 2:18-cv-00243-PBT
                  Our File No.: 447-104777

       Dear Judge Tucker:

              As you may recall, we represent Defendant, Healthcare Revenue Recovery Group, LLC
       (“HRRG”), in the above-captioned matter. Please accept this correspondence as a brief status
       update in accordance with the Court’s April 29, 2021 Order.

               Counsel participated in a telephonic Settlement Conference before Magistrate Judge Henry
       S. Perkin on May 5, 2021. The Parties were available by phone, but did not participate in the
       telephonic conference. Unfortunately, despite good faith efforts by all counsel and significant time
       spent in consultation with Magistrate Judge Perkin, the Parties were unable to amicably resolve
       their dispute. The Parties will now be moving forward with discovery in accordance with the
       Court’s current Scheduling Order.

              Thank you for Your Honor’s consideration and attention to this matter. Please contact the
       undersigned at your convenience if the Court has any questions or further directives.


                                                        Respectfully submitted,

                                                        MARKS, O’NEILL, O’BRIEN,
                                                        DOHERTY & KELLY, P.C.

                                                        /s/ Cecil J. Jones
                                                            Cecil J. Jones, Esquire
       /cjj
        cc:        All Counsel of Record (via ECF email)

            Pittsburgh       Cherry Hill     New York        Westchester County   Wilmington   Towson
           Pennsylvania      New Jersey      New York            New York          Delaware    Maryland
